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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL

 Case No.      SA CV 12-1383 AHS                                                     Date   September 21, 2012
               SA CR 03-29 AHS
 Title         UNITED STATES OF AMERICA v. THUAN HUY HA



 Present: The Honorable         ALICEMARIE H. STOTLER, UNITED STATES DISTRICT JUDGE
                   Carolyn J. Voss                                                 Not present
                    Deputy Clerk                                             Court Reporter / Recorder
           Attorneys Present for Plaintiffs:                            Attorneys Present for Defendants:
                       Not Present                                                  Not Present

 Proceedings:               (In Chambers) ORDER CORRECTING CLERICAL ERROR
                            AND CLOSING CASE

      On August 28, 2012, defendant Thuan Huy Ha (“Ha”) submitted an “Application
for Leave to File a Second or Successive Motion to Vacate, Set Aside or Correct
Sentence 28 U.S.C. 2255 By a Prisoner in Federal Custody.” [ECF No. 1] On page 6, as
applicant, Ha prays that the “United States Court of Appeals for the ‘9th Circuit’ grant an
Order Authorizing the District Court to Consider Applicant’s Second or Successive
Motion to Vacate under 28 U.S.C. § 2255.”

        The foregoing document, directed to the United States Court of Appeals, was filed
in the District Court and a new case number issued. The document was intended as a
service copy and should not have been filed. The document is ordered stricken as an
initiating document and, due to clerical error, the case is ordered closed.

       The Clerk shall serve a copy of this minute order on all counsel of record and on
petitioner at his last known place of incarceration.




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